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                                  IPP International U.G. Declaration Exhibit A
                                    File Hashes for IP Address 75.31.81.94

ISP: AT&T U-verse
Physical Location: Pasadena, TX



Hit Date UTC           File Hash                                          Title
06/21/2018 09:36:40    40C4DBCA9FD987613EA49BB71233369C1172974A           Sunset Love

06/07/2018 19:42:27    1A9D4E8C411AFD56DEA2EDF8D436529088D11C22 Purely Perfect Pink

04/15/2018 22:11:03    64543C72681411D76A22BA9D85DE003071FF53ED           Lingerie Birthday Surprise

04/08/2018 01:03:17    819E6423EF06A8BA7DC92E8290CE541C408D05DC           Wine Makes Me Anal

03/25/2018 21:47:40    16540A069860446050189D1C8F2DA71FE4787B69           Stripshow Sex


Total Statutory Claims Against Defendant: 5




                                                  EXHIBIT A
STX192
